Cds'e 1:04-cv-01254-.]DT-STA Document 36 Filed 08/05/05 Page 1 of 4 Pag§/<|;|;) 31

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

 

WlLLIE CARNEY,
Plaintiffs, No. 1-04-1253-T-An
JURY TRlAL DEMANDED
vs.
THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,
Defendant.
RODNEY CLARK,
Plaintiffs, No. 1~04-1254-T-An
JURY TRIAL DEMANDED
vs.
THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,
Defendant.
FRED JONES,
Plaintiffs, No. 1-04-1256-T-Ma
IURY TR_lAL DEMANDED

VS.

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

 

ORDER

 

Thls document entered on the docket she ln compliance
with Rule 58 and,'or_79 (a) FRCP on 9 l 5 l Q,S

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This cause comes before the court on Plaintiffs' motion to extend time to respond to
Defendant's motion for protective order. Upon due consideration of Plaintift`s' motion and the
record in this cause, the Court finds that the motion is Well taken and should be granted

ACCORDINGLY, IT IS HEREBY, ORDERED, ADIUDGED AND DECREED, that
Plaintiffs motion to extend time shall be granted and that Plaintiffs shall have until August 2,

2005 in Which to respond to Defendant's motion for protective order.

ENTER THIS aff-5 DAY oF %¢,?w 7" ,2005.

<S._//Z;;A,@

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
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ESSEE

 

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Honorable .1 ames Todd
US DISTRICT COURT

